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                                            Andrea E. Celli
                                      Chapter 13 Standing Trustee

To: Marguerite A. Vanden Wyngaard                                        Case No. 17-11965
    14 Norwood Ave
    Albany, NY 12208-2815

     JONATHAN D. WARNER
     Warner & Warner, PLLC
     6 AUTOMATION LANE
     SUITE 109
     ALBANY, NY 12205
     Via Electronic Service

                                    NOTICE OF CLAIMS FILED

   The following is a list of all claims filed by creditors in the above referenced Chapter 13 Bankruptcy
Case. A copy of this report has been sent to the Debtor and the Debtor’s attorney.

    Pursuant to 11 U.S.C. 502(a), the claims are deemed allowed and payment will be remitted to each
creditor based on the filed claim amounts unless within 45 days of this Notice, the Debtor or their
attorney files a written Objection with the Court AND provides a copy of the objection to the Trustee .
All Objections must be in writing and in compliance with Bankruptcy Rule 9014 which requires
NOTICE OF MOTION and Motion Objecting to the Claim.

Name/Acct. No.                                         Type                    Claim Amount Interest Rate
JONATHAN D. WARNER                                     ATTORNEY FEE            4,325.00     0.00

WELLS FARGO BANK NA                                     SECURED                450.30        0.00
XXXXX8986

PORTFOLIO RECOVERY ASSOC                                UNSECURED              2,706.91      0.00
2853

RESURGENT CAPITAL SERVICES                              UNSECURED              1,304.91      0.00
6586

RESURGENT CAPITAL SERVICES                              UNSECURED              670.35        0.00
8599

CAPITAL ONE BANK                                        UNSECURED              0.00          0.00

CAPITAL ONE BANK                                        UNSECURED              0.00          0.00

AMERICAN INFOSOURCE AS AGENT FOR DIRECT TV UNSECURED                           183.67        0.00
3967

SEFCU                                                   VEHICLE CLAIMS         23,415.07     5.00
0339
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                                                TOTALS

Total Priority:    $0.00

Total Secured:     $23,865.37

Total Unsecured:   $4,865.84                                        Toal Claims Filed   $28,731.21


                                     SUMMARY OF PLAN TERMS

Debtor's plan payments     $529.01/ monthly for 60 months

Minimum amounts required for plan completion:
      Minimum percentage for unsecured creditors            100.00%
         Disposable Income:                                 $-
         Liquidation:                                       $0.00

Date:    01/08/2019                         Signed: /s/ Katie Robbins
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF NEW YORK
IN RE: Marguerite A. Vanden Wyngaard          AFFIDAVIT OF SERVICE
                                              Case No.: 17-11965

                        Debtor

KATIE ROBBINS, BEING DULY SWORN, DEPOSES AND SAYS: THAT SHE IS OVER THE AGE
OF 18 YEARS; THAT SHE SERVED A COPY OF NOTICE OF CLAIMS FILED DATED
JANUARY 08, 2019 ON THE FOLLOWING MANNERS: ON JANUARY 08, 2019.

VIA ELECTRONIC FILING:

Office of the United States Trustee            JONATHAN D. WARNER
74 Chapel Street                               Warner & Warner, PLLC
Albany, NY 12207                               6 AUTOMATION LANE
                                               SUITE 109
                                               ALBANY, NY 12205

VIA REGULAR U.S. MAIL

Marguerite A. Vanden Wyngaard
14 Norwood Ave
Albany, NY 12208-2815

BY DEPOSTING A TRUE AND CORRECT COPY OF THE SAME PROPERLY ENCLOSED IN A
POST-PAID WRAPPER IN THE OFFICIAL DEPOSITORY MAINTAINED AT 7 SOUTHWOODS
PLAZA, ALBANY, NEW YORK DIRECTED TO SAID PERSON(S), AT SAID ADDRESSES.

                                                /s/ KATIE ROBBINS
                                                KATIE ROBBINS
Sworn before me this
8th day of January, 2019

/s/ Bonnie S. Baker
Reg. # 02BA5073612
Notary Public - State of NY
Qualified in Albany County
My Comission Expires 02/24/2019
